                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


In Re:                                                 Case no. 11-54164

Patrick George,                                        Chapter 7 Proceeding

            Debtor.                                    Hon. Walter Shapero
________________________________/

Selwan Kesto,

                Plaintiff                              Adversary No. 11-06602
v.

Patrick George,

            Defendant
________________________________/


                            ORDER REGARDING TRIAL OPINION

         For the reasons stated in the contemporaneously entered Trial Opinion, the Court denies

Plaintiff’s requested relief and finds that the alleged debts at issue are dischargeable.

         IT IS SO ORDERED.




Signed on September 23, 2016
                                                  ____ __/s/ Walter Shapero_    ___
                                                     Walter Shapero
                                                     United States Bankruptcy Judge




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